                Case 3:15-cr-00240-MHT-CSC Document 102 Filed 04/29/20 Page 1 of 13


TRULINCS 15668002 - HOWARD, STEPHEN - Unit: COL-A-A


FROM: 15668002                                                                          • R CE111ED
TO:
SUBJECT: CRIMINAL CASE 3:15-CR-240-MHT
DATE: 04/24/2020 05:56:28 PM                                                           MO APR 29 A IQ:
                                                                                                       31
                                                                                        RA P. HACKETT,
                                                                                         •.                  CLK
                                IN THE DISTRICT COURT OF THE UNITED STATES-                            ETA
                                    FOR THE MIDDLE DISTRICT OF ALABAMA
                                           EASTERN DIVISION
                                     Criminal Case No. 3:15-cr-240-MHT

STEPHEN HOWARD
   PETITIONER -
       PRO-SE,
v.

UNITED STATES OF AMERICA,
           RESPONDENT.



                               EMERGENCY MOTION FOR COMPASSIONATE RELEASE

    Stephen K.Howard (Howard)file this EMERGENCY MOTION to seek compassionate release under 18 U.S.C. 3582 (c)(1)(A)
(i).

                                        WAIVER OF COMPLIANCE

  Due to the current pandemic the BOP is in lockdown. Howard, PRO-SE, does not have access to typewriter nor word
processor. Hence, Howard respectfully request a waiver of the compliance rules as to this motion which was printed using
BOP's email system and available printer.

                                          EXCUSABLE ERROR

   As a preliminary rnatter Howard cites Haines v. Kerner, 404 U.S. 519(1972) for the proposition that PROSElitigants
pleadings are to be construed liberally and held to less stringent standards than formal pleadings drafted by lawyers. If the
Court ban reasonably read pleadings to state valid claims on which Howard could prevail, it should do so despite failure to cite
proper legal authorities, confusion of legal theories, poor syntax and sentence construction, or Howard's unfarnilianty with
pleading requirements. See also Erickson v. Pardus, 551 U.S. 89,94 (2007).

                               I WHETHER THE COURT HAS JURISDICTION AND
                                 DISCRETION TO PROVIDE RELIEF

     In 2018 Congress passed the First Step Act Pub.L.115-391 132 stat. 5194 which amended 18 U.S.C. 3582 (c)(1)(A) to add a
provision allowing Courts to consider motion by defendants for compassionate release.without a motion by the BOP director. A
term of imprisonment can be reduced only if "extraordinary and compelling reasons warrant such a reduction." Id. subsection
(i). Although there is not policy statement which constraint the Courts independent assesment of whether "extraordinary and
compelling reasons" warrant a sentence reduction under 3582(c)(1)(A)(i), the old policy statement provides helpful guidance.
 U.S.S.G. 1B1.13 cmt.n.1 (A)-(D); see also U.S. v Maumau, 2020 U.S.Dist. Lexis 28392.(D.Otah, Feb. 18, 2020)(collecting
cases); See also U.S. v. Perez,(No. 7 Cr. 513-3 (AT)(S.D.N.Y. Apr. 1, 2020); U.S.v. Perdigau,(No. 07-103)(E.D.La., Apr. 2,
2020); U.S v. Muniz(No. 4:09-cr-0199-1)(S.D.Tex., Mar. 30, 2020); U.S. v. Gonzales (No. 2:18-cr-0232-TOR-15)(E.D. Wash.
 Mar. 31, 2020); U.S. v. Davis,(No. PJM 00-424-2)(D,Md., Mar. 5, 2020); U.S. v. Mondaca,(No. 89-cr-0655-DMS)(S.D. Cal.,
 Mar. 3, 2020); U.S. v. Campagna,(No.th cr-78-01(LGS))(S.D.N.Y., Mar. 27, 2020); U.S..v. Villanueva,(18 cr. 472-3(KPF))
(S.D.N.Y. Apr. 8, 2020); U.S. v. Winckler,(No. 13-318)(W.D. Pa, Apr. 3, 2020); U.S. v. Lowry,(No. 18 cr 862)(S.D.N.Y. Apr., 6,
2020); U.S.v Smith,(No.12 cr 133(JFF))(S.D.N.Y. Apr., 13, 2020) and U.S. v Coker,(No. 3:14-cr-085)(E.D. Tenn., Apr. 15,
2020). The final category, at U.S.S.G. 1B1.13 cmt. n.1(D), is a catch-all provision that permits relief for "extraordinary and
compelling reason other than, or in combination with, the reason described in subdivisions (A)through (C)" id. Allowing just the
 BOP's director to make findings of extraordinary and compelling reason "is inconsistent with the law". Maumau, Supra at 3-4.
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                               11 WHETHER NOVI/MD SHOULD HAVE ASKED THE WARDEN
                                  TO RECOMMEND COMPASSIONATE RELIEF AND
                                  EXHAUST REMEDIES IF DENIED

   There are some well-established exceptions to exhaustion such as 1)if•exhaustion would be futile or, 2) if there are exigent
circumstances. Howard meets both. See U.S. v. Bikundi, 2017 U.S. Dist. Lexis 222083(D.D.C. June 28, 2017)at-footnote 3
(Exhaustion "is not required where any resort to administrative remedies would be futile particularly where denial would be
assured by the existence of an official BOP policy"); see also U.S.v Colvin, 3:19-cr-179(D.Conn. 2020)("exhaustion may be
unnecessary where the administrative procesa would be incapable of granting adequate'relier), 1) ln light of the current
pandemic, the Attomey General(AG)William Barr, sent two memos -on March26 and Apr 3- to the BOP in order to release
inmates to home confinement. The memos set forth guidance to find legible inmates for home confinement. The BOP, however,
issued its own intemal guidelines with more restricted criteria to place inmates in home cOnfinement , i.e. a)Primary or prior
offense is not violent, sex related or terrorism; b)No Detainer; c) Mental health care level less than IV; d)PATTERN (minimum);
e)BRAVO(BOP risk evaluating tool)(low); f) No incident report in the past 12 months and g) An available release plan. Those
eligible inmates should immediately be put in 14 days quarantine and processed for home confinement. Howard, as further
developed below, meets those stricted criteria but one. According to the BOP, Howard's 924(c) conviction placed him as a
violent offender, thus ineligible for home confinement. Because the denial is based on the "existence of an official BOP policy",
seeking BOP's remedy "would be futile", or 2)With the COVID-19 making every day matter, inmates and staff dying and the
impact of infected prisons -cruise ships on steroids- on the society this is critical important distinction that meet "exigent
circumstances". See also CARES ACT, Sec. 12003(b)(2) which Congress passed, bipartisan, and signed in to.LAW the same
day by President Trump authorizing the Attorney General and the BOP to send inmates to home confinement due to this
pandemic. See also U.S. v. Brannan, No. 4:15-cr-80-01 (S.D.Tx. Apr. 2, 2020)(though not reflected in order, emergency motion
was granted on same day filing for prisoner who had served only 9 month(25%)of a 36'month sentence for fraud at FCI
Oakdale and had not exhausted BOP remedies).

                               III HOW COVID-19, IN THE BOP, WOULD IMPACT-THE SOCIETY

    On,Monday March 9, 2020, 15 Senators sent BOP Director a letter expressing concern about possible COVID-19 outbreak
in Federal prison."Over 175,000 individuals are incarcerated in Federal prisons and jails, and thousands of inCa(cerated
people, their families and friends, and correctional staff move in and out of federal prisons every day g The unconstrained
spread of coronavirus in federal prisons and jails endangersthe federal prison population, correctional staff and the general
public." A little over three weeks ago, Attorney General Barr announced that"total of siilinmates and four prison staffers have
tested positive for COVID-19." Two weeks ago, BOP admitted to 138 inmales and 59 staff sick (with eight fatalities). As of
Sunday evening April 12, the BOP updated numbers report, 352 federal inmates and 189 federal prison staffera had tested
positive and on April 15, 2020 the BOP reported 13 fatalities. As of April 19, there are 496 inmates(up 41% from the previous
week)and 305 staff(up 61% from previous week)ill with COVID-19 in the BOP institutions. 22 fatalities.                  •
A couple weeks ago, the U.S. District for the Eastem District of New York ordered the wardens at MCC New York and MDC
Brooklyn to report(twice a week)to the Court on the statuš of COVID-19 testing at the facilities. in a report on Friday, the
wardens admitted that only 19 inmates (out of a corhbined population 'of nearly 2,500) had been tested.
in OHIO, a U.S. District Court Judge, James Gwin called the lack of testing at Elkton prison a "debacle especially compared
with a nearby state prison that has concluded thousands of.tests.
The BOP told the largest federal correction officers union during a Thursday meeting that it would soon announce major steps
to deal with the challenge. The reality is that the BOP has almost no ability to test "we have very, very limited amounts of testing
kits" said Brandy Moore, Secretary Treasurer of National Union that represents correctional officers in federal prisons also
adding that "our numbers are not going to be adequate because we're not truly testing them". •
At FCC Terre Haute, Steve Markle, another leader of National Union who works at the prison said."we have between 2,500 and
3,000 inmates and we were given four tests." In a filing in the E.D.N.Y. on Monday April 13, 2020,the BOP admitted the
"shortage of teste.                                . •
Joe Rojas, a regional union official, complained,"the Justice Department need to be proactive instead of reactive." He said
there have already been scares in BOP facilities in Seattle and Miami.
Aaron McGlothing, head of the local union at FCI Mendota in California, said "you've got to understand we're in a prison there's
nowhere to go," he stressed "if somebody comes down sick, what are you going to do? Everybody's going to get sick."
On Friday April; 13, the Marshall Project reported Dr. Sylvie Cohen, BOP's chief of occupational and employee health, ordered
Oakdale staff back to work the day after they took inmate Patrick Jonea (the first BOP`ideath for COVID-19)to the hospital.
The COs were issued no protective equipment other than latex gloves. Dr. Cohen reportedly directed that 'officers should work
unless they showed symptoms.' This advice flew in the face of the CDC guidance, which called for people whQ have had close
contact with a confirmed case of COVID-19 to isolate themselves at home for 14 days.
This virus has exposed the systemic failures that come from overcrowded prisons. As FORBES notes, the BOP's "failures are
resulting from lack of a widespread testing prcitocol 0, the continued transfer of inmates between institutions [sometimes to
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TRULINCS 15668002 - HOWARD, STEPHEN - Unit: COL-A-A

                                                                                                                         . •
comply with contracts with private prison], the introduction of new inmates 0 and the thousands of staff and contractors,that go
in and out of these institutions." It also added that the BOP's efforts, like increasing the rate of hiring new COs, has had tragic
consequences.                                              .
Meanwhile, inmates are dying and Coleman Low (where Howard is•housed) has 3 inmates and 1 staff with COVID-19 and
although the facility is under lockdown, inmates are in contact with COs,staff and other inmates working in the kitchen. laundry,
Medical Service, Commissary, etc. Thus, it is unsurprising that by the time this Emergency motion reach out the Court, more
infected cases and deaths, sadly, are going to be confirmed, Like Georgetown Universityassistant law professor Shon
Hopwood wrote 2 weeks ago in THE APPEAL, no one should "look to the DOJ to release enough people to make prisons and
their surroundings communities safe."
In the other hand, Courts across the country are taking actions and expeditiously granting relief. Perhaps Courts realized that in
the middle of this pandemic, pnsons are like nursing homes or cruise ships but on steroids. See U.S. v Foster, No 1:14-cr-324-
02(MD PA. Apr. 3, 2020)("The circumstances faced by our prison system during this highly contagious; potentially fatal global
pandemic are unprecedented. It is not stretch to call this environment 'extraordinary and compelling', and we well believe that,
should we not reduce defendant's sentence, defendant has a high likelihood of contracting COVID-19 from which he would 'not
be expected to recovee. U.S.S.G. 181.13, No ratibnle is more compelling or extraordinary,"); see also U.S. v. Brannan, Supra;
U.S. v. McCarthy, No. 3:17-a-0230(D.Conn. Apr. 8;2020); U.S. v. Hansen, No. 07-cr-00520 (E.D.N.Y. Apr. 8, 2020); U.S. v.
Trent No, 16-cr-00178-CRB-1 (N.D. Cal. Apr. 9, 2020); U.S. v. Plunk, No. 3:94-cr-36-TMB (D. Alaska Apr. 9, 2020); U.S. v.
Decator No. CCB-95-0202(D.Md. Feb. 6, 2020); U.S. v. Millpn, No. 91-cr-685 (LAP)(S.D.N.Y. Apr. 6, 2020); U.S. v. Marin, No.
15-cr-262(E.D.N.Y. Mar. 30, 2020)and U.S. v Powell, No. 94-cr-00316 (D.D.C. Mar. 28; 2020).
                                                                                            •




                                                        .
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TRULINCS 15668002 - HOWARQ, STEPHEN --Unit: COL-A-A


FROM: 15668002
TO:
SUBJECT: CRIMINAL CASE 3:15-CR-240-MHT
DATE:04/24/2020 06:01:54 PM

                                   IV RELEVANT BACKGROUND

    Howard pled guilty to possession with intent to distribute 1,4-butanediol, 21 1.1.S.C. 813 & 841(a)(1); Possession of
methamphetamine, 21 U.S.C. 844(a), and Brandishing a firearm during a drug trafficking crime, 18 U.S.C. 924(c)(1)(A)(ii). As to
the brandishing charge and specifically the intimidate element, the following was said by Howard during the plea colloquy: "I
showed {gun} to him {undercover}, but not in a manner to intimidate 0 because he asked what it Was when I opened {3my
console. And I just told him what it was. And it was unloaded. And 1 made sure that it had no bullets in it, and i let him look at it. I
handed it to him." Cr-DOC # 44; See also Preliminary and detention hearing (Gov't investigator saying that Howard cleared the
weapon and handed the gun to the undercover). Although Howard, as a layman and ignorant of the elements of the charge, did
not clearly understand the technicality of the statute, he felt really regretful and decided to take responsibility for his actions by
pleading guilty. See also Civil Case 3:16-00803-MHT-CSC, Doc # 5-1 (Howard's Attorneys affidavit: Howard "was always clear
to ,me in his instructions that he did not want to go to trial").
Howard was sentenced -within the guidelines- to 102 months consisting on 18 months forthe drugs and 84 months for the
brandishing to run consecutively.

                                   V WHETHER HOWARD IS ENTITLED TO RELIEF

    GiVen that the Court has jurisdiction and discrefion to find whether there s.extraordinary and compelling reason other than
or in combination with Howard's health, Howard proffer the following facts to support that finding:

    1) Howard,69 year old, is neither sex offender nor terrorist. He is housed at a low security facility and the BOP, recently
assessed his recidivism as minimum. He is working at UN1COR (for 40 months),and has completed several classes arid,
programs such as Drug Addiction Treatment, preventive health. conversational Spanish,• leather tooling, native American
culture, among other. Howard paid his fine and assessment and he does not have mental health issues. He has served 59
months in prison (or 69% of his sentence accounting good-time credit) with excellent conduct. His projected release date is on
August 18, 2022, 28 months from today. Howard does not have a Detainer. Despite that this record well meets the BOP's
criteria for release to home confinement, Howard -according to the BOP- does not qualify for such relief because his 924(c)
charge is a violent offense.
Howard's 18 tJ.S.C. 924(c)(1)(A)(ii) offense has two exclusive elements, one related to crime of violence or, to drug trafficking
crime. Howard's 924(c)conviction is predicated on possession with intent to distribute drugs, therefore not a crime of violence.
Even using a categorical approach, which Court assesses whether a crime qualifies as a violent in terms of how the law defines
the offense and not in terms of how an individual offender might have committed it on a particular occasion, Johnson V. U.S.
135 S.Ct. at 2557(2014), the 924 (c)(1)(A)00 is clearly a divisible criminal statute which set out elements of the offense,
excluding one from the other. Descamps v. U.S. 133 S.Ct. at 2283(2013). In fact, in addressing a DiMaya claim brought by
Howard, the Magistrate found that Howards's "firearm was possessed in furtherance of a drug trafficking crime, not a crime of
violence," Cv. Doc#32-1 at page 23. The Magistrate's recommendation was adopted and decreed. Cv. Doc#39.
The BOP interpretation of Howard's 924(c)offense as a violent one is erroneous and caused Howard's exclusion frorrr home
confinement which potentially could save his life.
It should be noted that Howard does not have a violent history. In fact, besides the instant offense and a DUI -almost 30 years
ago- he has never been convicted of any crime.

   2) Howard has diabetes for 27 years and has hypertension (high blood pressure). These conditions along with his 69 years
old and the lack of social distancing at FCI Coleman makes Howard -according to the CDC- a high risk person for COVID-19.
He also has glaucoma and secondary diabetic complications of neuropathy of feet and legs. See attached Medical Record; See
also Colvin, Supra (Petitioners diabetic condition along with lack of social distancing at FDC Philadelphia meet extraordinary
and compelling reason for relief). FDC Philadelphia has 1023 inmates while Coleman Low (Howard location) has 2060 inmates.

    3) If this Coun decide to send Howard to Home Confinement or to reduce.his sentence as time served then Howard's
daughter, Kelley Howard Farr -a 46 years old, x-ray technician who works at Auburn Acute Care and lives in 1239 Penny Lane
Auburn, AI 36830 for more than 20 years, 10 minutes from East Alabama Medical Center- is more than able and willing to take
care of Howard until she finds suitable housing. She is currently looking into purchasing a mobile home for Howard in Auburn,
Al. She has a power of Attorney to accomplish this. However, she will check first with Probation to determine what is suitable.
Howard's income and savings are in the form of stocks ($26,000); 403(b)($9,242.24); Aubum Bank Checking ikccount
($15,001.63)and retirement($1,166.5 a month from Teacher retirement and 'Utility Company retirement) which is going to be
                                                             9
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increased an additional $3,000 a month due to social security on January 2021 (when Howard turns 70 years old).
Theseamounts can be updated by his daughter Kelley who can be reached.at 334-663-3696.

                                     CONCLUSION

    Howard believes that the above-mentioned points permits relief for "extraordinaiy and compelling reason oth4Ahan, or in
combination with, the reason described in subdivision (A)through (C)" U.S.S.G. 181.13 cmt. n1(d); See also CoV4, Supra.
Therefore. Howard respectfully request this HONORABLE COURT to be sent to home confinement for the 28 remainino months
of his sentence or in the alternative to have his sentenceterrninated as time served and begin his 3 year term of Supervised
Release.

                                   CERTIFICATE OF SERVICE

    I HEREBY CERTIFY that on April 24, 2020 i sent a true and correct copy of the foregoing with the CLERK of the Middle
District of Alabama Court, which will send a notice of filling to all parties and served a copy upon the following via electronic
filing.

                                                 Mr. Verne H. Speirs,.
                                                 Mr. Jonathan.S. Ross
                                                 Assistants United States Attomey
                                                 131 Clayton Street
                                                 Montgomery., Alabama 36104

                                     DECLARATION

  i declare under penalty of perjury, 28 U.S.C. 1746, that the foregoing is true and correct to the best of my knoVed9e and
memory.

                                                 Howard Stephen
                                                 Reg. 15668-002
                                                 Federal Correctional Institution
                                                 Coleman Low
                                                 P.O. Box 1031
                                                 Coleman, Fl. 335321
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                                                                                           Av-3 1°"1-
              Individualized Reentry Plan - Program Review (inmate Copy)                          SEQUENCE: 01995478
                             Dept. of Justice / Federal Bureau of Prisons                     Team Date: 12-18-2019
              Plan is for inmate: HOWARD, ST8P81117    15668-00:

         Facility: COL COLEMAN LOW FCI                               Pro"), Rel. Data:.;.08-18-2022
          Name: HOWARD,STEPHEN                                       Proj. Rel. Mthd: GCT REL
    Register No.: 15668-002                                              DNA Status: FOR07166/ 04-22-2016
             Age: 68
    Date of Birth: 01-22-1951
Detainers
Detaining Agency                     Remarks
NO DETAINER

Current Work Assignments
Facl     Assignment Description                                          Start
COL        UNICOR 4       UNICOR WORKER,INSIDE, CREW #4                  12-10-2019
Current Education Information
Facl     Assignment Description                                          Start
COL        ESL HAS        ENGLISH PROFICIENT                             04-22-2016
COL        GED HAS        COMPLETED GED OR HS DIPLOMA                    04-22-2016
Education Courses
SubFacl Action             Description                                   Start                Stop
FOR                       LEATHER TOOLING                                01-07-2017           04-14-2017
FOR                       ACE KEYBOARDING 7-8P T                         12-27-2016           03-21-2017
FOR                       PREVENTIVE HEALTH 1-2P W CORE1                 09-29-2016           12-15-2016
FOR                       NATIVE AMERICAN CULTURE 6-8P R                 08-02-2016           09-23-2016
FOR                       CONVERSATIONAL SPANISH 6-7P W                  08-02-2016           09-23-2016
FOR                       HEALTHY CHOICES 1-2P F CORE 1                  08-12-2016           09-23-2016
FOR                       JOB SEARCH 6-7P T CORE 2                       08-09-2016           09-06-2016
Discipline History(Last 6 months)
Hearing Date           Prohibited Acts
— NO INCIDENT REPORTS FOUND IN LAST6 MONTHS

Current Care Assignments
jAssignment          Description                                         Start
CARE1-MH                  CAREi-MENTAL HEALTH                            05-02-2016
CARE2                     STABLE, CHRONIC CARE                           05-02-2016
Current Medical Duty Status Assignments
Assignment            Description                                        Start
LOWER BUNK                LOWER BUNK REQUIRED                            01-09-2019
NO RS                     NO FOOD SERVICE WORK                           04-27-2016
NO PAPER                  NO PAPER MEDICAL RECORD                        04-22-2016
REG DUTY W                REGULAR DUTY W/MED RESTRICTION                 01-09-2019
SOFT SHOES                SOFT SHOES ONLY                                01-09-2019
Current Drug Assignments
Assignment       Description                                             Start
DAP NO INT            DRUG A8USE PROGRAM NO INTEREST                     08-12-2019
ED COMP               DRUG EDUCATION COMPLETE                            08-30-2016
NR COMP               NRES DRUG TMT/COMPLETE                             03-05-2019
FRP Details
Most Recent Payment Plan
FRP Assignment:       COMPLT       FINANC RESP-COMPLETED            Start: 06-06-2016
Inmate Decision: AGREED            $25.00               Frequency: QUARTERLY
Payments past 6 months:      $1,425.00          Obligation Balance: Moo
Financial Obligations
            Type      Amount            Balance         Payable            Status
Sentry Data as of 12-17-2019             Individualized Reentry Plan - Program Review (Inmate Copy)        Page 1 of 3
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            individualized Reentry Plan - Program ROVIBYV (Inmate Copy;                                 SeQasacsl 01995472
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 Most Recent Payment Plan                                                                                                          I
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Progress since last review
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Next Program Review Goals
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RRCMC Placement


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                                              Bureau of Prisons
                                               Health Services
                                            Medication Summary
                                        Current as of 0412012020 17:12
Complex: COX--COLEMAN FCC                                 Begin Date: N/A                 End Date: N/A
Inmate: HOWARD,STEPHEN                                    Reg #:      15668-002           Quarter: A03-937L

Medlcations listed reflect prescribed medications from the begin date to end date on this report.
Allergies:                               Denied


Active Prescriptions
  amLODIPine 10 MG TAB
  Take one tablet(10 MG)by mouth each evening to control blood pressure
  Rx#: 969678-COX       Doctor: Negron, Ivan MD
  Start: 11/22/19       Exp: 11/21/20                           Pharmacy Dispensings: 150 TAB in 151 days

  Aspirin 81 MG EC Tab
  Take one tablet(81 MG)by mouth each day
  Rx#: 969679-COX       Doctor: Negron, Ivan MD
  Start: 11/22/19       Exp: 11/21/20                                Pharmacy Dispensings: 150 TAB in 151 days

  Atorvastatin 20 MG TAB
  Take one tablet(20 MG)by mouth each evening for control of cholesterol
  Rx#: 969680-COX        Doctor: Negron, Ivan MD
  Start: 11/22/19        Exp: 11/21/20                           Pharmacy Dispensings: 150 tab in 151 days

  Diabetic Supply - Lancets
  Use to self-monitor and test blood sugar ONCE daily only AS NEEDED to check for low blood sugar between visits to HSU
  as directed
  Rx#: 969682-COX           Doctor: Negron, Ivan MD
  Start: 11/22/19           Exp: 05/20/20                        Pharmacy Dispensings: 300 ea in 151 days

  Diabetic Supply - Test Strips(Glucocard Expr)50
  Use to self-monitor and test blood sugar ONCE daily only AS NEEDED to check for low blood sugar between visits to HSU
  as directed
  Rx#: 987237-COX           Doctor: Bonnet-Engebretson, Leonor MD
  Start: 03/18/20           Exp: 09/14/20                        Pharmacy Dispensings: 100 strip in 34 days

  Dorzolamide HCL Ophth 2%, 10 ML Soln
  Instill one drop in both eyes three times daily
  Rx#: 969684-COX            Doctor: Negron, Ivan MD
  Start: 11/22/19            Exp: 11/21/20                           Pharmacy Dispensings: 50 ML in 151 days

  DULoxetine HCI Delayed Rel 30 MG Cap
  Take one capsule (30 MG)by mouth each evening for pain
  Rx#: 969685-COX        Doctor: Negron, Ivan MD
  Start: 11/22/19        Exp: 05/20/20                               Pharmacy Dispensings: 150 Cap in 151 days
Generated 04/20/2020 17:12 111.1.111111111.1ft    8ureau of Prisons - COL                              Page 1 of 2
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Complex: COX—COLEMAN FCC                                  Begin Date: N/A                 End Date: N/A
Inmate:  HOWARD, STEPHEN                                 Reg #:       15668-002           Quarter: A03-937L


Active Prescriptions
  Lisinopril 40 MG Tab
  Take one tablet(40 MG) by mouth each day to control blood pressure
  Rx#: 969689-COX        Doctor: Negron, Ivan MD
  Start: 11/22/19        Exp: 11/21/20                           Pharmacy Dispensings: 150 TAB in 151 days

  metFORMIN HCI 850 MG Tab
  Take one tablet(850 MG) by mouth twice daily with food for control of diabetes "*note decreased dose'
  Rx#: 969706-COX        Doctor: Negron, Ivan MD
  Start: 11/25/19        Exp: 11/24/20                              Pharmacy Dispensings: 300 TAB in 148 days

  Timotol Maleate Ophth Soln 0.5% (10 ML)
  instill one drop in both eyes twice daily
  Rx#: 969707-COX            Doctor: Negron, Ivan MD
  Start: 11/25/19          Exp: 11/24/20                             Pharmacy Dispensings: 50 ML in 148 days

  Insulin NPH (10 ML) 100 UNITS/ML INJ
  Inject 48 units of NPH insulin subcutaneously each morning--Inject 40 units of NPH insulin subcutaneously each evening
  "'pill line*"
  Rx#: 969686-COX           Doctor: Negron, Ivan MD
  Start: 11/22/19           Exp:   11/21/20                        Pharmacy Dispensings: 0 ML in 151 days

  Insulin Reg (10 ML) 100 UNITS/ML lnj
  Inject units of regular insulin subcutaneously two times a day FSBS 151-200=2u, 201-250=4u,251-300=6u,301-
  350=8u,351-400=10u, >401=Call MD ***pill line***
  Rx#: 969687-COX              Doctor: Negron, Ivan MD
  Start: 11/22/19             Exp: 11/21/20                          Pharmacy Dispensings: O ML in 151 days

  Insulin Reg (10 ML) 100 UNITS/ML lnj
  inject 15 units of regular insulin subcutaneously two times a day 'pill line"*
  Rx#: 969688-COX             Doctor: Negron, Ivan MD
  Start: 11/22/19             Exp: 11/21/20                           Pharmacy Dispensings: 0 ML in 151 days




Generated 04/20/2020 17:12 byll111.1.111111.      Bureau of Prisons - COL                                Page 2 of 2
                  Case 3:15-cr-00240-MHT-CSC Document 102 Filed 04/29/20
                                                                  Page 1 of 5Page 10 of 13

                       100 North Gay Street               00198
                       P.O.Box 3110
                       Auburn,Alabama 36831-3110
                       Telephone 334-827-9200
                       www.auburnbank.com

              AUBURNBANK
              RETURN SERVICE REQUESTED




              198 1 AV 0.380 77860-7A*3*00198**"AUTO'SCH 5-DIGIT 36830
              STEPHEN KENNETH HOWARD



          11116..,                                              IMPORTANT NOTICE-PLEASE READ




           AuburnBank is increasing your purchase power! Effective May 17th, we are increasing the daily purchase limit on your
      AuburnBank debit card to $5,000.00.The daily ATM limit will remain unchanged. If you have requested your limit be lowered in
     the past, please contact Electronic Services at 334-821-9200 and we will be glad to reduce the limits. Ask us about protecting your
                            account by enroffing in text alerts to notify you when your debit card has been used.



       Golden Key 50+
       Account Number                              NEM             # of Images Enclosed                                             1
       Previous Balance                            $11,095.29      Statement Dates                              9/09/19 thru 10/06/19
          3 Deposits/Credits                        $4,014.10      Average Ledger Balance                                      12,392
          8 Checks/Debits                            $107.76       Average Collected Bal                                       12,087
       Service Charge                                   $.00
       Interest Paid                                    $.00
       Ending Balance                              $15,001.63

                                                                DEPOSiTS POSTED:
       Date             Description                                 Serial#                              Amount            Bank Ref#
                        Sep 30 PAY RSA AXXXXXXXX    09/30/19 ID NAME-STEPHEN K
       9/27                                                                                              5787.66
                        HOWARD   TRACE  #-091000010634947                                                                  /L-qati
       9/27             REGULAR DEPOSIT                                                                52,847.60         013000105
                        PN PMTS/CP SOUTHERN COMPANY 1043581074                10/01/19 ID
       9/30                                                                                              S378.84
                        NAME-HOWARD TRACE #-011000028435429                                                                N-Atrys..titt‘

                                                           WITHDRAWALS POSTED:
       Date             Description                                                                      Amount            Bank Ref#
       9/10             Western Union Financial San Fr POS PIN CK 09/09/19 21:24                           556.95
       9/11
      9/12
                        AMZN Mktp US*M041NOSNO Arnzrt.co P05 PUR CK 09/70/19 74:47
                        AMZN Mktp US*NU2SG1013 Amzn.co POS PUR CK 09/11/19 21:56
                                                                                                            $8.73
                                                                                                            59.36
                                                                                                                                        1
      9/16              AMZN Mktp US*2K2TI2WN3 Amzn.co POS PUR CK 09/15/19 12:20                            $5.63
       9/16             AMZN Mktp US*JX4H658Y3 Amzn.co POS PUR CK 09/16/19 13:32                            $5.77
       9/16             AMZN Mktp US*LK18J5QC3 Amzn.co POS PUR CK 09/16/19 12:33                            $5.79



Ql
                *                 InSVa.                               ,
                                                                       r i0,1Vifk
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      LENDE.A                                                                                                               Member FDIC
O
                 Case 3:15-cr-00240-MHT-CSC Document 102 Filed 04/29/20 Page 11 of 13
       FOR CHANGE OF ADDRE5S
       My New Address is:
                                                                                MY ACCOUNTS ARE:
       NAME                                                                     0 CHECIUNG ACCOUNT NUMBER
       STREET                                                                   0 SAVINGS ACCOUNT NUMBER
       CIT1'                                                                  El OTHER
       STATE                                 ZIP CODE                  AUTHORIZED SIGNATURE

                                                     Disregard if you have a Commercial Account
                                       in Case of Errors or Questions About Your Electronic Transfers
If you think statement or receipt is wrong or if you need more information about a transfer on the statement or receipt, telephone us at(334)887-2760 or
write us at the following address: Auburn Bank, Attention: Bookkeeping,PO.Box 3110, Auhurn,A!abarna 361331. We must hear from you no later than 60
days after we sent you the FIRST statement on which the error of problem appeared.
    (1) Tell us your name and account number
     (2) Describe the error or transfer you are unsure about,and explain as clearly as you can why you believe therth,a            r or why you n        ore
           information.                                                                                                 1W+t.                     4
    (3} Tell us the dollar amount of the suspected error.
If you tell us orally, we may require that you send us your complaint or question in writing within 10 business days. We will determine whether an error
occurred within 10 business days(5 business days for CheckCard point-of-sale transactions and 20 business days if the transfer involved a new account)
after we hear from you and will correct any error promptly. If we neecl more time, however, we may take up to 45 days(90 days if the transfer involvecr a
nevv account, point-of-sale transaction, or a foreign initiated transfer) to investigate your complaint or question. If we decide to do this we will credit your
account within 10 business ciays(5 business days for CheckCard point-of-sale transactions and 20 business days if the transfer involved a new account)
for the amount you think is in error, so that you will have use of the money during the time it takes us to complete our investigation. lf we ask you to put
your complaint or question In writing and we do not receive it within 10 business days,we may not credit your account. An account is considered new
account for 30 days after the first deposit is made, if you are a new customer.

We will tell you the results within three business clays after completing our investigation. If we decide that there was no errcq, we will send you a written
explanation.You may ask for copies of the documents that we used in our investigation.

if you would like to confirm that an electronic deposit to your account has been made as                   u may cal! us at(334)887-27W.lf you have
contracted with us for Tiger Tellerphone1334-887-2713)or Aubu rn Bonk Online(www.au                   .    ), you may also access that information through
these services.
Use This Form To Balance Your Checkbook Records With Your Bank Statement.
Fill in below amounts horn your Bank Staternent and checkbook

                                                                               Balance shown in your Checkbook
Balance shown on Bank Statement                                                                                              $
                                                                                Add any Deposits,interest Payments and other
                                                                               Credits listed on Statement but not already
                                                                               entered in Checkbook
                                                                               (Enter in Checkbook)
Add Deposits in Checkbook but
not on Statement



                                        Total $                                                                             Total $
                                  Balance S_                                                                             Balance $
Subtract Cheks issued but not on
Statement;include any other withdrawals
made but not on Statement.
      Check #               Amount




                                                                    Subtract Service Charge and other
                                                                    Bank Charges not in Checkbook
                                                                    (Enter in Checkbook)




                                                            Total $                                          Total $
                                                          Ba!ance $                                        Balance $


These totals should agree, and they represent the correct amount of money you have in the bank.                              klimplear

Differences, if any should be reported to the bank in accordance with the above.                                             FDIC
            Case 3:15-cr-00240-MHT-CSC Document 102 Filed 04/29/20 Page 12 of 13
                                                                                        Account holder: STEPHEN KENNETH HOWARD
        T1AA
            THE ALIBURN UNIV TAX DEFERRED 403(B) AND
O           403(B)(7) PROGRAM
            Plan # 150475

This plan Includes the following annuity contracts and other Investments. The annuity contracts are Indicated with
either TIAA or CREF followed by a number.
TIAAWIIIIMIle CREWMEN..


Summary of your activity
Balance as of Jul 1, 2019                   $9,145.75
Galns/Loss                                       96.49
Balance as of Sep 30, 2019                  $9,242.24



What you have vested
This plan includes a delayed vesting provlslon that may apply to some or ali employees. if the vesting provlslon applies to you,
the vested status of any employer contrlbuttons and earnings are generally based on your length of employment at your
employer. A vested percentage and vested rnarket value Is not currently displayed for any participants in this plan because the
employer currently maintains this information. Thls message is not lntended to describe your persona! vesting status. Please
see the plan's Summary Plan Description for rnore information about the vesting rules for this plan.


Your investments
                                                        Nunter of           Uolt/ohere price        value as of     Percent of your
Annuity oontraots end other investments               units/shares        as of Sep 30,2019       Sep 30,2019            total plan

Pre-Tax Inveatments
Equities
CREF Stock R2(CREF H074526-8)                            1.4680              $514.5941              $755.43               8.17%
CREF       Index R2(CREF                                 1.1028               248.9948               274.60               2.97%

Total Equities                                                                                    $1,030.03             11.14%
Real Estate
TIAA Real Estate (TIAA                                 18.8690               $435.2223            $8,212.21             88.86%
Total Real Estate                                                                                 $8,212.21             88.86%

Total value of your investments                                                                  $9,242.24                 100%




YOUR QUARTERLY RETIREMENT SAVINGS PORTFOLIO SIMEMENT FOR July 1, 2019 70 September 30. 2019                            PACE 3OF 6
           Case 3:15-cr-00240-MHT-CSC Document 102 Filed 04/29/20 Page 13 of 13
                                                                                       Account holder. STEPHEN KENNETH HOWARD

  THE AUBURN UNIV TAX DEFERRED 403(3) AND 403(5)(7) PROGRAM (Continued)



  How the value of your investments changed this period
  To view the current performance for your specific investments,log in to your account at TIAA.org or)vu can visit
  TIAA.org/performance for general performance information.
                                                         Value as of            Net result of        T1AA interest/           Value as of
  Investments                                            Jul 1,201.9            transaotions           Gain or loss         Sep 30,201.9

  TIAA Real Estate                                    $8,117.18                      $0.00               $95.03             $8,21.2.21
  CREF Stock R2                                           757.07                      0.00                 - 1.64               755.43
  CREF Equity Index R2                                    271.50                      0.0Q                   3.1.0              274.60
 Total value of your investments                      $9,145.75                     $0 00 ilt--411111111111$96.49'6441191"
                                                                                                                       $;
                                                                                                                        ' ,242.24



 Your transaction details

  There are no transactions this quarter.



Information about your portfolio
Please review your statement and let us know promptly of any inaccuracies. To protect your rights, you should also notify us in
writing. Unless we receive written notification within 60 days, we will assume our information is correct.
With respect to financial services provided by TIAA-CREF Individual & Institutional Services, LLC and Teachers Personal
Investors Services, Inc., please note that FINRA BrokerCheck is available to help you check the background of brokers and
brokerage firms. FINRA has published an investor brochure that includes information regarding FINRA BrokerCheck. To learn
more, please visit www.finra.org or call 800-289-9999.
Per Notice 2017-09 withholding agents may forego issuing a corrected tax withholding and information return or statement if
the error is under $25 or $100, respectively. It is TIAA's longstanding practice to issue an amended form for all information
returns that contain a valid error. TIAA reserves the right to change this policy at any time and will provide notification, as well as
written instructions on how to opt out, in the event the policy changes.
DIveralfled and Well-Balanced PortfoHo: To help achieve long-term retirement security, you should give careful consideration
to the benefits of a well-balanced and diversified investment portfolio. Spreading your assets among different types of
investments can help you achieve a favorable rate of return, while minimizing your overall risk of losing money. This is because
market or other economic conditions that cause one category of assets, or one particular security, to perform very well often
cause another asset category, or another particular security, to perform poorly.
It is also important to periodically review your investment portfolio, your investment objectives, and the investment '
under the Plan to help ensure that your retirement savings will meet your retirement goals. For more information bf atf !fib a
resources regarding individual investing and diversification, visit the Internet website of the Department of Labor at
www.dol.gov/ebsa/investing.html.
If you invest more than 20% of your retirement savings in any one company or industry,                    ay not be properly
diversified. Although diversification is not a guarantee against loss, it is an effective strate o e you manage investment
risk. In deciding how to invest your retirement savings, you should take into account all of your assets, including any retirement
savings outside of the Plan. No singje approach is right for everyone because, among other factors, individuals have different
financial goals, different time horizons for meeting their goals, and different tolerances for risk.                    , ,




YOUR QUARTERLY RETIREMENT SAVINGS PORTFOLIO STATEMENT FOR July /, 2019 TO September 30,2019                                  PAGE 4 OF 6
